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4
     Attorney for Defendant
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7

8                                IN THE UNITED STATES DISTRICT COURT

9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

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11
         UNITED STATES OF AMERICA,                     Case No. 2:18-CR-00058-JAM
12
                             Plaintiff,
13
                                                       STIPULATION AND ORDER FOR
14                                                     CONTINUANCE OF STATUS
         v.                                            CONFERENCE
15

16
         JOHN MICHAEL HERRON, ET AL.                   Date: January 15, 2019
17                                                     Time: 9:15 a.m.
                             Defendants.               Judge: Hon. John A. Mendez
18

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21
              IT IS HEREBY STIPULATED by and between the parties hereto through their
22
     respective counsel, Matthew Segal, Assistant United States Attorney, attorney for Plaintiff,
23
     Kresta N. Daly, attorney for defendant John Michael Herron, and Candice L. Fields, attorney
24
     for defendant Robert Joseph Maher, that:
25
              1.      By previous order, this matter was set for a status conference on January 15,
26
     2019, at 9:15 a.m., before Judge John A. Mendez.
27
              2.      By this stipulation, defendants now move to continue the status conference until
28
     1
                     STIPULATION AND [PROPOSED] ORDER FOR CONTINUANCE OF STATUS CONFERENCE
                Case 2:18-cr-00058-JAM Document 62 Filed 01/10/19 Page 2 of 3



 1 March 26, 2019, at 9:15a.m. before Judge John A. Mendez, and to exclude time between

 2 January 25, 2028, and March 26, 2019, inclusive, under Local Code T4 (to allow defense

 3 counsel time to prepare).

 4         3.        The parties agree and stipulate, and request that the Court find the following:
 5         a.        On or around December 17, 2018, the government produced more than 14,000
 6 pages of discovery associated with this case directly to counsel and/or made available for

 7 inspection and copying.

 8         b.        Counsel for defendants desire additional time to review the discovery only
 9 recently produced in this matter, consult with their clients, review the current charges, conduct

10 investigation and research related to the charges, and to discuss potential resolutions with

11 their clients.

12         c.        Counsel for defendants believe that failure to grant the above-requested
13 continuance would deny them the reasonable time necessary for effective preparation, taking

14 into account the exercise of due diligence.

15         d.        The government does not object to the continuance.
16         e.        Based on the above-stated findings, the ends of justice served by continuing the
17 case as requested outweigh the interest of the public and the defendant in a trial within the

18 original date prescribed by the Speedy Trial Act.

19         f.        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
20 et seq., within which trial must commence, the time period of January 15, 2019, to March 26,

21 2019, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv) [Local

22 Code T4] because it results from a continuance granted by the Court at defendants’ request on

23 the basis of the Court's finding that the ends of justice served by taking such action outweigh

24 the best interest of the public and the defendants in a speedy trial.

25         4.        Nothing in this stipulation and order shall preclude a finding that other provisions
26 of the Speedy Trial Act dictate that additional time periods are excludable from the period

27 within which a trial must commence.

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                    STIPULATION AND [PROPOSED] ORDER FOR CONTINUANCE OF STATUS CONFERENCE
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 2                                           Respectfully submitted,
 3   Dated: January 7, 2019                   MCGREGOR W. SCOTT
                                              United States Attorney
 4

 5
                                              /s/ Matthew Segal
 6
                                              MATTHEW SEGAL
 7
                                              Assistant United States Attorney

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 9
     Dated: January 7, 2019                  /s/ Candice L. Fields  _____
10                                           CANDICE L. FIELDS
                                             Attorney for Defendant
11                                           ROBERT JOSEPH MAHER

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13

14 Dated: January 7, 2019                    /s/ Kresta Nora Daly
                                             KRESTA NORA DALY
15                                           Attorney for Defendant
                                             JOHN MICHAEL HERRON
16

17                                              ORDER
18        IT IS HEREBY ORDERED that the status conference hearing set for January 15, 2019,
19 at 9:15 a.m., be vacated and continued to March 26, 2019, at 9:15 a.m.

20        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
21 seq., within which trial must commence, the time period from the date of this order through

22 March 26 2019, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161 (h)(7)(A), (B)(iv)

23 and Local Code T4, because it results from a continuance granted by the Court at both parties’

24 request on the basis of the Court’s finding that the ends of justice served by taking such action

25 outweigh the best interest of the public and the defendant in a speedy trial.

26
     Dated: January 10, 2019                    /s/ John A. Mendez________________
27                                              JOHN A. MENDEZ
                                                United States District Court Judge
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                STIPULATION AND [PROPOSED] ORDER FOR CONTINUANCE OF STATUS CONFERENCE
